Case 8:18-mj-00168-DUTY Document 3 Filed 04/18/18 Page 1 of 4 Page |D #:119
Case 8:18-mj-00169-DUTY *SEALED* Document 1-1 *SEALED* Filed 04/10/18 Page 2 of 13

 

 

Page ID #:48
AO 93 (Rev. ]2/09) Search and Seizui'e Warranl (Page 2)
Return
Case No. .‘ Date and time warrant executed: Copy of warrant and inventory left with.'

 

 

s;1s-MJ-169 €»/~<~//v/X *7/`$“;§»/\ `Wt¢>'/<it »/UZ€UYG'@U

 

Inventory made in the presence of .'

nance reagan

 

Inventory of the property taken and name of any person(s) seized.'

[Please provide a description that Would be sufficient to demonstrate that the items seized fall Within the items authorized to be
seized pursuant to the Warrant (e.g., type of documents, as opposed to “misceilaneous documents”) as well as the approximate
Volume of any documents seized (e.g., number ofboxes). If reference is made to an attached description of property, Specify the
number of pages to the attachment and any case number appearing thereon.]

 

Certificatl`olz (by officer present during the execution of the Warrant)

 

[ declare under penalty of perjury that [ ain an ojj‘icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's O]j‘ice.

Date.‘

 

Executing o]j‘icer ’s signature

 

Printed name and title

 

 

 

AUSA: [Lindsay IV|. Bai|ey x6875]

 

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Case 8. 18- -mj- -00169- DUTY *SEALED* DOCUment 1-1 *SEALED* Filed 04/10/18 Page 1 Of 13

Page |D #: 47
AO 93 (Rev.12/09) Search and Seizure Warrant (USAO CDCA Rev 01/201

UNITED STATES DISTRICT COURT

for the
Central District of Califomia

In the Matter of the Search of
(Briefly describe the property to be searched
or identi;j) the person by name and add) ess)

Premises at 1307 VV. 214th Street, Torrance CA 90501 and
any digital devices recovered therein

Case No. 8:18-|\/|J~169

SEARCH AND SEIZURE WARRAN'I`

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Central District of Ca|ifomia
(identify the person or describe the property to be searched and give its location)!
See Attachment A-2

The person or property to be searched, described above, is believed to conceal (identzyj) the person or describe the
property to be seizeaDZ `
See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

 

property
YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance
(not to exceed ]4 days)
il in the daytime 6 :00 a.m. to 10 p.m. l:l at any time in the day or night as I find reasonable cause has been

established

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from WhoSe premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the Warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing With the C|erk's Office.

(name)

ij l find that immediate notification may have an adverse result listed iny 8 U.S.C. § 2705 (eXcept elay
of trial), and authorize the officer executing this warrant to delay notice to tl person who, or whose pzoperty, ill be

S€al'Ch€d OI` SCiZ€d (check the appropriate box) ij fOI` dayS (not to ' eed 30).
IJ until, the facts justifying/ge later specific date of
§

1 c atlanta
`Y\m/ ga lge ’s signature

City and state: Santa Ana, Catifornia Hon. Douglas F. l\/lcCormick
Printed name and title

t

 

Date andtimeissued: i~;<"//tf§§ ;{é;’ % ///> i:"> !/YA

 

AUSA: [Lindsay IVI. Bailey X6875] f

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U.S. FOOD AND DRUG ADMiN|STRAT|ON
OFFICE OF CR|M|NAL lNVEST|GATiONS

 

 

lNVENTORY OF lTEMS SElZED

 

DATE OF SEARCH: 04/i1/2018 START TIIVIE: 0645 END TlME: 0930
SlTE ADDRESS= 1307 W. 214th Street, Torrance, CA 90501

 

 

lTEM # QTY DESCR|PTION OF EVIDENCE

1

1

lnjectable drugs from various labs; blister packs of si|denafil and tada|afil; cannabinoid roll on

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 1 Enve|ope from Sydney, Austrailia W/2 vials labeled "L-Carnitine 200mg"

3 1 1 vial HGH; 1 vial Gtex; 3 blister packs of sildenafi|; 1 blister pack oftadalafi|
4 1 Assorted mail

5 1 Assortedmail, statements

6 1 Mu|tiple bottles of suspected steroids

7 1 Multip|e bottles of suspected steroids

8 6 Boxes of Ceebis Tadalafil 20rng (20 tabs each) W/shipping box

9 1 Multip|e vials of HGH and Bacteriostatic Water

10 1 2 boxes of Si|denafi| jeily; 5 blister packs of Siidenafi|; 2 blister packs of Tadalafi| W/shipping box
11 1 12 blister packs of Tadalafii W/shipping box

12 1 Miscel|aneous drug and steroid vials and tablets

13 1 Shipping box

14 1 Misce|ianeous steroid products

15 1 Blister packs ofSildenafil and Tadalafii

 

OCl Form 4200

Case 8:18-mj-00168-DUTY Document 3 Filed 04/18/18 Page 4 014 Page |D #:122

 

U.S. FOOD AND DRUG ADM|N|STRAT|ON
OFF|CE OF CRli\/llNAL lNVEST|GAT|ONS

 

 

lNVENTORY OF lTEMS SElZED

 

 

 

DATE OF SEARCH: 04/11/2018 START TIME: 0645 END TIME: 0930
SlTE ADDRESS= 1307 W. 214th Street, Torrance, CA 90501
lTEM # QTY DESCRIPT|ON OF EVlDENCE

 

1

1

lTEM LABLED AS SZRCM1 (APPLE lPHONE MQARZLL/A, SN: F17VTI'X9JC6J, HD Size : 64GB, ROOM C
MASTER, OWNER: THOA| NGUYEN/JULES)

 

 

 

2 1 lTEM LABLED AS SZRANH (APPLE lPHONE MQAUZLL/A, SN: G6TW34UYJCL8, HD Size : 256(53, ROOM A
LIV|NG ROOM, OWNER:TONY NOVAK)

3 1 lTEM LABLED AS SZRBNH (APPLE lPHONE MGSOZLL/A, SN: DNQNMGLTGSMJ, HD Size: 6OGB, ROOM B
KITCHEN, OWNER: THOA| NGUYEN/JULES)

4 1 lTEM LABLED AS SZRHCl (ASUS G752V, SN: GCNOCYO0X09151C, ROOM H OFF|CE) and power cord

 

lTEM LABLED AS SZRXC1 (|OMEGA-EXTERNAL 97A0092786, SN: 97A0092786)

 

l OC| Form 4200

